           Case:
          Case   23-16010, 05/01/2024,
               3:18-cv-04865-EMC       ID: 12881776,
                                    Document         DktEntry:
                                              706 Filed        33, Page
                                                         05/01/24   Page11ofof22




                      UNITED STATES COURT OF APPEALS                       FILED
                             FOR THE NINTH CIRCUIT                          MAY 1 2024
                                                                        MOLLY C. DWYER, CLERK
                                                                         U.S. COURT OF APPEALS
In re: TELSA, INC., SECURITIES                    No.    23-16010
LITIGATION.
______________________________                    D.C. No. 3:18-cv-04865-EMC
                                                  Northern District of California,
GLEN LITTLETON, Lead Plaintiff,                   San Francisco

                  Plaintiff-Appellant,            ORDER

 v.

ELON MUSK; et al.,

             Defendants-Appellees,
______________________________

SILVER LAKE TECHNOLOGY
MANAGEMENT, L.L.C.,

                  Intervenor-Pending.

Before: Lisa B. Fitzgerald, Appellate Commissioner.

         Silver Lake Technology Management, L.L.C.’s unopposed motion (Docket

Entry No. 22) to intervene for the limited purpose of moving to seal is granted.

The unopposed motion (Docket Entry No. 24) to file under seal portions of

Volumes 4 and 5 of the excerpts of record is granted.

         The Clerk will file publicly the motion to seal (Docket Entry No. 24-1). The

Clerk will maintain under seal Volumes 4 and 5 of the excerpts of record (Docket




OSA145
           Case:
          Case   23-16010, 05/01/2024,
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Entry Nos. 7-5, 7-6).

         Briefing is complete.




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